          Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 1 of 22



                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS
                                   Eastern Division

JOHN DOE,                                 )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                  Case No. 18-cv-12462
                                          )
HARVARD UNIVERSITY,                       )
                                          )
      Defendant.                          )
__________________________________________)

                MEMORANDUM OF LAW IN SUPPORT OF
                 PLAINTIFF JOHN DOE’S MOTION FOR
      TEMPORARY RESTRAINING ORDER AND PRELIMINARY INJUNCTION

       Pursuant to Rule 65(a), (b) of the Federal Rules of Civil Procedure, Plaintiff John Doe

(“Plaintiff”) respectfully submits the following memorandum of law in support of his motion for

a temporary restraining order and a preliminary injunction against Defendant Harvard University

(“Harvard” or “the University”).

       Mr. Doe is a student at the Faculty of Arts and Sciences (“FAS”), a college within

Harvard University. Mr. Doe has been accused of sexual assault by a young woman, Jane Roe.

Ms. Roe does not attend the University; her allegations are all based on events that occurred

more than sixteen months ago and hundreds of miles away from Harvard’s campus; those events

did not occur during the academic year or in connection with any Harvard program; and none of

the witnesses involved are Harvard students or otherwise connected with Harvard. In short, the

incident has nothing to do with Harvard.

       Also, Ms. Roe, the complainant in Harvard’s proposed proceedings, has filed a separate

civil lawsuit against Mr. Doe in another jurisdiction (after the relevant law enforcement

authorities, following an investigation, declined prosecution); Ms. Roe’s civil lawsuit remains
          Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 2 of 22



ongoing, and it appears that Ms. Roe seeks to gain leverage in that lawsuit, or otherwise to harass

Mr. Doe, by pressing Harvard to undertake proceedings against Mr. Doe. Harvard, for its part,

appears all too happy to be enlisted in this way.

       Mr. Doe is asking the Court to enjoin Harvard from pursuing, through FAS, disciplinary

proceedings against him, because FAS doing so would constitute both (1) a breach of the

contract between Harvard and Mr. Doe, and (2) a breach of the covenant of good faith and fair

dealing implicit in that contract.

I.     INTRODUCTION

       This case is about a promise that Harvard has made to its students (and other community

members) about when it reasonably may subject them to its campus discipline process in

connection with allegations of sexual misconduct, and when it may not. Harvard’s relevant

policy is its “Sexual and Gender-Based Harassment Policy” (the “Policy”). Exhibit 1. That

policy expressly defines the “sexual harassment” regulated by the policy to include “sexual

assault.” See id. at 2 (“Sexual violence, including rape, sexual assault, and domestic and dating

violence, is a form of sexual harassment.”). Harvard’s policy then makes plain, in a section

entitled “Jurisdiction” (emphasis in original), that it—the university policy regarding sexual

assault—applies to all Harvard “students, faculty, [and] staff,” among others, but only “whenever

the misconduct occurs”:

               (1)     On Harvard property; or

               (2)     Off Harvard property, if:

               a.     the conduct was in connection with a University or
               University-recognized program or activity; or

               b.     the conduct may have the effect of creating a hostile
               environment for a member of the University community.




                                                    2
          Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 3 of 22



Id. at 3 (emphasis added).

       One Harvard school, FAS, is flouting those limitations. It has its own policies and

procedures (“FAS Policy and Procedures”), which, while in one breath pledging adherence to the

University’s Policy, simultaneously proclaim that FAS will investigate students accused of

sexual misconduct any time FAS sees fit, regardless of what Harvard’s Policy says. Exhibit 2 at

7.

       And FAS now in fact is going as far as it conceivably could go beyond the jurisdictional

limits of Harvard’s Policy. It is investigating a Harvard student who has been accused of sexual

misconduct—Mr. John Doe—and the connection to Harvard ends there. Mr. Doe’s accuser is

not a Harvard student. Compl. ¶ 17. Indeed, to Mr. Doe’s knowledge, no one at Harvard ever

has accused him of sexual assault, and he has no disciplinary record whatsoever at Harvard.

Compl. ¶ 31; Exhibit 3 (John Doe Statement (redacted)) at 5. Harvard’s Title IX investigator

openly has admitted—twice—that Harvard does not believe that Mr. Doe has created any hostile

environment for anyone at Harvard. See Exhibit 4 (Email from Ilissa Povich to Mr. Doe’s

counsel (Nov. 2, 2018); Exhibit 5 (Email from Ms. Povich to Mr. Doe) (Nov. 8, 2018)). Rather,

Ms. Roe’s allegations center on an encounter that did not take place on or near Harvard property;

indeed, it took place hundreds of miles away from Harvard’s campus. Compl. ¶¶ 2, 15. It did

not take place during the academic year or in connection with any Harvard program or activity,

or while Mr. Doe was participating in any such program or activity. Id. ¶ 23. There are no

Harvard witnesses. Id. Indeed, the incident took place more than sixteen months ago, and, more

than eight months ago, Ms. Roe filed a civil suit against Mr. Doe (again, in a jurisdiction

hundreds of miles away) in connection with the incident, which lawsuit Mr. Doe is in the process

of defending. Id. ¶ 4. In short, the only connection to Harvard with any of this is that the




                                                 3
             Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 4 of 22



accused young man, Mr. Doe, happens to be a Harvard student (and his school happens to be, for

whatever reason, all too happy to have itself enlisted in support of his accuser’s efforts to harm

him).

        Students who attend Harvard have a reasonable expectation of when and under what

circumstances they may be subject to Harvard disciplinary proceedings. Those expectations

flow, at least in considerable part, from the University’s express policies, which policies bar the

university and its component entities from doing what FAS is attempting to do here. And

Massachusetts law does not permit Harvard, through one of its schools (here, FAS), to flout its

promise to subject its students to the university’s discipline process only in enumerated,

reasonable circumstances.

        Harvard—through FAS—is forcing Mr. Doe to make an impossible choice: He is being

forced to choose between (1) participating in the campus proceeding and abandoning the

procedural protections he has in the civil case—with subpoena power, expansive access to

discovery, including testimony from Ms. Roe and other witnesses who will be under oath, and

the right to cross-examine Ms. Roe and those witnesses; or (2) risking suspension or even

expulsion from Harvard if he does not defend himself in the campus case. An immediate

injunction is necessary so Mr. Doe does not have to make that impossible and fundamentally

unjust choice.

II.     BACKGROUND

        A.       John Doe.

        Mr. Doe is a student at Harvard University. Compl. ¶ 14. He spent the summer of 2017

completing an internship. Id. ¶ 15. Ms. Roe attended a different university; she likewise spent

the summer of 2017 completing an internship. Id. ¶¶ 16-17.




                                                 4
            Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 5 of 22



       On the night of July 22, 2017, Mr. Doe met Ms. Roe at a party. Compl. ¶ 18. At some

point in the early morning hours of July 23, 2017, the two engaged in sexual activity. Id.

       Ms. Roe now claims that she did not consent to this activity, and therefore that Mr. Doe

sexually assaulted her. Compl. ¶ 18. To be blunt, she now claims that he raped her. Id. (These

allegations are categorically false.) Id. Ms. Roe first filed a complaint with the local police

department, but, following an investigation, law enforcement declined to prosecute. Id. ¶ 19.

Ms. Roe then filed a civil personal injury lawsuit against Mr. Doe in March 2017, which lawsuit

remains pending. Compl. ¶ 20.

       About seven months later, on or about October 17, 2018, Mr. Doe was summoned to a

meeting with the Harvard University Office for Sexual and Gender-Based Dispute Resolution

(“ODR”), which is an office tasked by FAS with investigating claims of sexual misconduct.

Compl. ¶ 22; Exhibit 2 at 7. In that meeting, Mr. Doe learned for the first time that ODR was

planning to investigate whether he had sexually assaulted Ms. Roe. 1 When Mr. Doe, through his

advisor, asked Harvard’s Title IX investigator why the University believed it had jurisdiction to

pursue this matter, the investigator directed Mr. Doe and his advisor only to Section III of the

FAS Policies and Procedures, which is discussed below. See Exhibit 2 at 7.

       B.      Harvard’s Policies and Procedures.

               1.      The Harvard University Sexual and Gender-Based Harassment
                       Policy.




1
  It is unclear, based on the record that Harvard has made available to Mr. Doe, whether Ms. Roe
or her attorney in the civil case, or some other source, initially brought Ms. Roe’s allegations to
the Title IX office at Harvard. Mr. Doe has asked, and Harvard has refused to answer—stating
only that the official “Reporter” of the offense was the Harvard Title IX Coordinator, and
declining to reveal how that official became aware of the allegation. See Ex. 5.


                                                 5
          Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 6 of 22



       Harvard University has adopted a Sexual and Gender-Based Harassment Policy. Exhibit

1. The language in the Policy makes clear that it is meant to apply to all members of the

University community. See id. at 1 (“Harvard University is committed to maintaining a safe and

healthy educational and work environment in which no member of the University community is,

on the basis of sex, sexual orientation, or gender identity, excluded from participation in, denied

the benefits of, or subjected to discrimination in any University program or activity.”).

        As noted above, that Policy also makes clear in what circumstances Harvard does, and

does not, have jurisdiction to investigate sexual assault claims. Ex. 1 at 3. More particularly,

Harvard limits its purported “Jurisdiction” with respect to the Policy to alleged conduct that

occurs (1) “[o]n Harvard property,” or (2) “[o]ff Harvard property, if” one of two further

conditions are satisfied. Id. (emphases to “Jurisdiction” in original; emphasis to “if” added).

Those conditions, which are critical, given that there is no dispute that Mr. Doe’s alleged conduct

did not occur on Harvard property, are: “(a) the conduct was in connection with a University or

University-recognized program or activity;” or “(b) the conduct may have the effect of creating a

hostile environment for a member of the University community.” Id. Again, however, there is

no dispute that Ms. Roe’s allegations do not satisfy either condition: Mr. Doe’s alleged conduct

bore no connection whatsoever to any Harvard-recognized program or activity, and, as Harvard

correctly has conceded, Mr. Doe’s alleged conduct also was not such (because it had nothing to

do with Harvard), as to create a hostile environment for any member of the Harvard community.

               2.      FAS Policies and Procedures.

       FAS has promulgated a document entitled FAS Sexual and Gender-Based Harassment

Policies and Procedures. Exhibit 2. Harvard University’s website indicates that this document

is part of the “Procedures” the different schools at Harvard implement underneath the umbrella




                                                 6
          Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 7 of 22



of the Policy. See Exhibit 6 (screenshot of Harvard’s Title IX website at “Procedures,” available

at https://titleix.harvard.edu/procedures) (last visited Nov. 28, 2018). And the FAS Policies and

Procedures state that the University Policy applies to all Harvard Schools and units, including

FAS, and to all Harvard students, faculty, staff, appointees, and third parties. Exhibit 2 at 2. But

the FAS Policies and Procedures go further, claiming for FAS not only the authority to

“elaborat[e] on and supplement[]” the University Policy, but also the authority to ignore the

jurisdictional limitations imposed by that policy (notwithstanding FAS’s previous commitment,

in almost the same breadth, to “adhere[] to” the University Policy):

               The Faculty of Arts and Sciences, including the College and the
               Graduate School of Arts and Sciences, shares an additional
               commitment to training our students to be citizens and citizen
               leaders within a larger community beyond the borders of our
               campus. For this reason, it is the expectation of the Faculty of Arts
               and Sciences that all students, whether or not they are on campus or
               are currently enrolled in a degree program, will behave in a mature
               and responsible manner. Consistent with this principle, sexual and
               gender-based misconduct are not tolerated by FAS even when,
               because they do not have the effect of creating a hostile environment
               for a member of the University community, they fall outside the
               jurisdiction of the University Policy. Because sexual and gender-
               based misconduct are in direct opposition to our community values,
               cases involving such conduct may be referred by the relevant
               Administrative Board (“Ad Board”) to the Harvard University
               Office for Sexual and Gender-Based Dispute Resolution (“ODR”)
               for investigation in accordance with the University Procedures and
               the jurisdictional guidelines described in this Policy.

Section III (emphasis added) (Exhibit 2 at 3).

       The FAS Policies and Procedures therefore make clear that FAS is in one breath claiming

fealty to the Policy, while in the next breath asserting the authority to subject its students to

disciplinary proceedings regarding accusations of sexual misconduct over which it has no

jurisdiction under the Policy. See id. To the best of Mr. Doe’s knowledge, there are no other

schools at Harvard that have adopted this expansive view of jurisdiction (Harvard certainly has



                                                   7
            Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 8 of 22



yet to identify any 2), and in fact a number expressly reject any such interpretation. See Exhibits

7-9.

       C.      Mr. Doe Submits to ODR That It Does Not Have Jurisdiction, but ODR
               Continues Its Proceedings.

       On November 7, 2018, Mr. Doe submitted a detailed statement to Harvard University, in

which he pointed out that FAS does not have jurisdiction to subject him to disciplinary

proceedings with respect to this matter. Exhibit 3. Alternatively, Mr. Doe further explained that,

even if FAS did have such jurisdiction, it would not be appropriate to exercise it here, including

because the incident has no connection to Harvard and because Harvard necessarily will not

afford him a fair or thorough investigation. Id. at 4-5. Finally, Mr. Doe asked ODR at least to

stay its disciplinary proceeding until the pending civil litigation could be resolved, given the

serious impact it could have on his ability to defend himself in the civil case. Id. at 5-6.




2
  Harvard’s Title IX investigator has asserted that “[s]everal schools have codes of conduct that
are broader than the University policy and are in addition to the University policy.” Ex. 5. That
investigator, however, has not identified any such schools (and nor has anyone else at Harvard
done so). And certainly no one has identified a school that asserts jurisdiction beyond what the
University Policy allows. Indeed, none of the other procedures available on Harvard’s website
governing allegations of student misconduct (for any of Harvard’s various schools) asserts the
authority to investigate allegations that go beyond the Policy’s jurisdictional limits. See Exhibit
7 (Harvard Graduate School of Design, GSD Local Policies,
http://www.gsd.harvard.edu/resources/personal-conduct/#titleix); Exhibit 8 (Harvard University
Procedures for Handling Complaints Against Students Pursuant to the Sexual and Gender-Based
Harassment Policy, http://titleix.harvard.edu/files/title-
ix/files/harvard_student_sexual_harassment_procedures.pdf (adopted by other Harvard schools,
including Harvard Business School, Harvard Kennedy School, and Harvard Divinity School));
Exhibit 9 (Harvard Law School, HLS Sexual Harassment Resources and Procedures for
Students, http://hls.harvard.edu/content/uploads/2015/07/HLSTitleIXProcedures150629.pdf). In
fact, GSD’s policies explicitly state: “None of the provisions outlined here contradict or replace
any provisions of the University Procedures . . . To the extent any existing GSD policies and
procedures interfere with compliance with the University Policy and Procedures, application of
such GSD policies and procedures should be suspended.”) (emphasis added) Exhibit 7 at 15.


                                                  8
           Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 9 of 22



         The Title IX investigator responded, fewer than 24 hours later, rejecting all of these

arguments. She wrote, in part, that FAS “ha[s] the authority to adopt [its] own policies regarding

student conduct.” Exhibit 5. She cited no authority for that assertion (and nor has Harvard

subsequently provided any). Id. Rather, the Title IX investigator announced that the

investigation would proceed. Id.

         Only when, on November 15, 2018, the Department of Education issued its new,

proposed rules for student disciplinary proceedings in alleged sexual assault cases (rules with

which Harvard’s current proceedings do not comply), did Harvard agree temporarily to pause its

proceedings. Compl. ¶ 33. On November 27, however, Harvard’s Title IX investigator

announced that Harvard would continue its disciplinary proceedings against Mr. Doe (with no

changes to its existing procedures), pressing him to appear for an interview the very next day

(November 28) or, alternatively, later in the same week. Id.; Exhibit 11.

III.     LEGAL STANDARD

         The same standard governs the grant of a preliminary injunction and a temporary

restraining order. Levesque v. State of Me., 587 F.2d 78, 81 (1st Cir. 1978). In deciding whether

to grant either form of injunctive relief, the Court must consider: (1) the movant’s likelihood of

success on the merits, (2) whether the movant is likely to suffer irreparable harm in the absence

of preliminary relief, (3) whether the balance of hardships weighs in favor of the movant, and

(4) whether an injunction is in the public interest. See Voice of The Arab World, Inc. v. MDTV

Medical News Now, Inc., 645 F.3d 26, 32 (1st Cir. 2011). Although all four factors matter in this

analysis, the moving party’s likelihood of success on the merits is “the touchstone of the

preliminary injunction inquiry.” Philip Morris, Inc. v. Harshbarger, 159 F.3d 670, 674 (1st Cir.

1998).




                                                  9
          Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 10 of 22



IV.     ARGUMENT

        The Court should issue a temporary restraining order, followed by a preliminary

injunction, preventing Harvard from subjecting Mr. Doe to disciplinary proceedings with regard

to the alleged sexual assault. The Court should do this because Mr. Doe meets all four of the

requirements outlined above. First, he is likely to succeed on the merits of both of the claims in

his Complaint—breach of contract and breach of the implied covenant of good faith and fair

dealing. Second, he is likely to suffer irreparable harm in the absence of preliminary relief.

Third, the balance of harms overwhelmingly weighs in his favor. And, finally, an injunction is in

the public interest.

        A.      Mr. Doe Is Likely to Succeed on the Merits of Both of His Claims.

        Mr. Doe prevails on the first and most important of the temporary restraining order and

preliminary injunction factors—likelihood of success on the merits—with respect to both his

breach of contract claim and his breach of the implied covenant of good faith and fair dealing

claim. First, Mr. Doe is likely to succeed on his breach of contract claim, because (a) he and the

University had a contract, which included the terms of Harvard’s Policy and the express

jurisdictional limitations of that policy (thereby providing Mr. Doe an objectively reasonable

expectation that he would not be subjected to Harvard’s campus disciplinary process under these

circumstances); and (b) FAS’ actions clearly violate that Policy. 3 And, second, Mr. Doe is likely

to succeed on his implied covenant of good faith and fair dealing claim for the same reasons.



3
  In breach of contract cases in which a disciplinary proceeding already has been concluded, and
the complaint alleges that the proceeding was conducted unfairly, courts also have considered
whether the proceeding was conducted with “basic fairness.” See, e.g., Doe v. Trustees of
Boston College, 892 F.3d 67, 87 (D. Mass. 2018) (summary judgment inappropriate on breach of
contract claims where evidence presented question of fact for jury on whether proceedings had
been conducted with “basic fairness”); Doe v. Brandeis University, 177 F. Supp. 3d 561, 594 (D.
Mass. 2016) (denying motion to dismiss where complaint alleged a proceeding that lacked “basic


                                                10
           Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 11 of 22



                  1.      Mr. Doe Is Likely to Succeed on His Claim for Breach of Contract.

          The elements of a breach of contract claim in Massachusetts are: (1) the existence of a

contract, (2) a breach of that contract, and (3) resultant damages to the suing party. See

Michelson v. Digital Fin. Servs., 167 F.3d 715, 721 (1st Cir. 1999). Mr. Doe can establish all

three of these elements. The Policy is a contract between Mr. Doe and Harvard; Harvard—

through FAS—is violating that Policy; and Mr. Doe has suffered, and will continue to suffer,

damages as a result.

                          a.      The Policy Is a Contract Between Mr. Doe and Harvard.

          “It is well-established that the student-college relationship is contractual in nature.” Doe

v. Brandeis, 177 F. Supp. 3d at 593 (citing Mangla v. Brown Univ., 135 F.3d 80, 83 (1st Cir.

1998)).

          The Policy sets forth, at least in part, the terms of that contractual relationship.

“Brochures, policy manuals, and other advertisements can form the basis of . . . contractual

agreements,” including agreements between universities and their students. Guckenberger v.

Boston Univ., 957 F. Supp. 306, 317 (D. Mass. 1997) (emphasis added); see also Mangla, 135




fairness” to the plaintiff). Although FAS’s decision to proceed with an investigation is, itself,
unfair to Mr. Doe, and violates his contractual rights, Mr. Doe does not allege at this time that
the content of the proceeding itself is fundamentally unfair as to him, because the proceeding
against him has technically only just begun, and should continue no further. If it were to
continue further, the proceeding itself may present any number of separate fairness concerns that
would also give rise to a breach of contract claim. If that happens, Mr. Doe certainly will not be
the first to have raised such concerns about Harvard’s policies in this area. See Doe v. Brandeis,
177 F. Supp. 3d 561, 573 (noting without deciding that “Harvard . . . appears to have
substantially impaired, if not eliminated, an accused student’s right to a fair and impartial
process[.]”); Exhibit 10 (Elizabeth Bartholet et al., Rethink Harvard’s Sexual Harassment Policy,
Boston Globe (Oct. 15, 2014), https://www.bostonglobe.com/opinion/2014/10/14/rethink-
harvard-sexual-harassment-policy/HFDDiZN7nU2UwuUuWMnqbM/story.html).


                                                    11
         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 12 of 22



F.3d at 83 (“The student-college relationship is essentially contractual in nature. The terms of

the contract may include statements provided in student manuals[.]”).

       And courts have specifically found that a university’s policies governing investigation of

sexual misconduct claims may be part of the student-university contract. For example, in Schaer

v. Brandeis University, 735 N.E.2d 373 (Mass. 2000), the plaintiff, a male student at Brandeis

who had been found responsible for sexually assaulting a female student, sued Brandeis for

breach of contract based on alleged violations of a section in the university’s handbook entitled

“Rights and Responsibilities.” The trial court dismissed this claim for failure to state a claim; the

appellate court, however, reversed. Id. at 376. And, while the Massachusetts Supreme Court

ultimately reversed again, it did so only after expressly concluding that a university’s disregard

of procedures promised in its handbook could give rise to a student’s breach of contract claim.

Id. at 378-80. And, in a more recent case, a Court in this District found that Brandeis

University’s sexual misconduct policies and procedures were part of the terms of its contract

with its student (the plaintiff), and that Brandeis had breached those policies and procedures by

subjecting the student to a disciplinary process that was unfair in several key respects. Doe v.

Brandeis, 177 F. Supp. 3d at 570, 593-612.

                       b.      Harvard—Through FAS—Is Breaching Its Own Policy, and
                               Therefore Its Contract with Mr. Doe.

       In the student-university context, Massachusetts courts have held that “[a] breach of

contract is established if the facts show that the [college] has ‘failed to meet the [student’s]

reasonable expectations.’” Walker v. Pres. and Fellows of Harvard College, 840 F.3d 57, 61-62

(1st Cir. 2016) (quoting Schaer, 735 N.E.2d at 378). Here, Mr. Doe reasonably expected that

Harvard would abide by its own jurisdictional limitations and would not subject him to its

disciplinary process regarding alleged conduct that had no connection to Harvard.



                                                  12
         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 13 of 22



       Harvard does not dispute that its investigation into Ms. Roe’s allegations against Mr. Doe

exceeds the jurisdictional limits of the University’s Policy. Exhibit 4 and 5. Its FAS

nevertheless claims the authority to pursue an investigation based solely on FAS having

authorized itself to do so, notwithstanding, and in contravention of, the University Policy.

Exhibit 5. In short, FAS baldly has informed Mr. Doe that the Policy does not prevent it from

going beyond what the Policy allows.

       Ironically, however, the FAS Policy and Procedures itself explicitly acknowledges that

FAS in fact is bound by the University Policy—FAS is not free to do whatever it likes in

subjecting its students to its disciplinary processes regarding claims of sexual misconduct. More

specifically, the FAS Policy and Procedures states that the University’s Policy “applies to all

Harvard Schools and units, including the FAS, and to all Harvard students, faculty, staff,

appointees, and third parties.” Exhibit 2 at 3 (emphasis added). And it explicitly purports to

“adhere[] to the University Policy and Procedures”—but then is doing exactly the opposite in

pursuing this investigation against Mr. Doe. Id. The University’s website also holds out the

FAS Policy and Procedures as procedures that implement the Policy, and therefore fall under the

University’s umbrella of authority. Exhibit 6.

       In other words, the publications of both the University and FAS—i.e., the materials on

which a Harvard student reasonably could rely—indicates that FAS cannot deviate from the

University’s Policy when it comes to subjecting students to disciplinary processes regarding

allegations of sexual assault. This presents the same situation as in Cloud v. Trustees of Boston

University, 720 F.2d 721 (1st Cir. 1983). In that case, a Boston University law student was

disciplined for peeping under the skirts of female students in the university library. Id. at 723.

The law student sued Boston University for breach of contract, among other claims, on the




                                                 13
         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 14 of 22



grounds that the university had applied the wrong policy to his disciplinary proceedings. He had

been disciplined under Boston University’s general disciplinary policies. He argued that,

because he was a law student, the law school policies—which he believed were more lenient

procedurally—should apply, not the university policies. The First Circuit rejected that argument,

and affirmed the district court’s grant of summary judgment on the breach of contract claim, for

three reasons. First, the violations had occurred in the university’s library, not on law school

property. Id. at 724. Second, the complaining students were university students from outside the

law school. Id. And, third, the law school’s policies had clearly stated that its students “are

subject [to] both the rules of Boston University and to the rules and regulations of the School of

Law,” and the plaintiff thus reasonably should have expected to be subject to the university’s

umbrella policies. Id. (emphasis added). Mr. Doe is likely to succeed on his breach of contract

claim for the same reason Cloud failed. Unlike Cloud, Mr. Doe can point to a University policy

that makes clear that it, not an individual school’s policies, should govern, and he reasonably has

relied on that policy. FAS has developed policies and procedures that exceed the jurisdictional

limits of the Policy. This is a clear breach of Harvard’s contract with Mr. Doe.

                       c.      Harvard’s Breach Has Damaged, and Is Damaging, Mr. Doe.

       For the reasons discussed in more detail below, Mr. Doe has suffered, and will suffer,

harm as a result of Harvard imposing its disciplinary processes on him. He already has spent

substantial time and money, and it only has just begun. He has had to study the policies and

procedures, as well as the scant evidence Ms. Roe has provided thus far, and he has had to have

numerous discussions with his counsel about the case. All of this comes at the expense of his

schoolwork, on-campus job, and extracurricular activities. And the process is only getting

started. If he participates, he will have to be interviewed by ODR; he likely will need to provide




                                                 14
         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 15 of 22



additional written statements; he will have to try to locate witnesses who are willing to be

interviewed by Harvard—since neither he nor Harvard has any power to compel them to be

interviewed—and he will have to review whatever report is issued at the conclusion of this

process. All of this will cost substantial time and money—to say nothing of the incredible

anxiety and stress he is experiencing, and will continue to experience, faced with the possibility

that Harvard might (wrongfully) find him responsible and suspend or even expel him.

       Mr. Doe already has paid an extraordinary amount of money to Harvard in tuition and

fees. And he will lose incalculably more than that, financially and otherwise, if he is suspended

or expelled. See, e.g., Doe v. Brandeis, 177 F. Supp. 3d at 601 (discussing repercussions of

finding of responsibility for sexual misconduct for “[p]ost-graduate educational and employment

opportunities”).

               2.      Mr. Doe Is Likely to Succeed on His Claim for Breach of the
                       Covenant of Good Faith and Fair Dealing.

       Mr. Doe also is likely to succeed on his claim against Harvard for breach of the covenant

of good faith and fair dealing, for two reasons. First, Harvard has ignored its obligations under

the Policy. Second, even absent the Policy, it is fundamentally unfair for Harvard to subject Mr.

Doe to its disciplinary processes under these circumstances.

                       a.      Subjecting Mr. Doe to Harvard’s Disciplinary Processes
                               Breaches the Covenant of Good Faith and Fair Dealing
                               Because Doing So Violates the Policy.

       Every contract imposes an implied covenant of good faith and fair dealing. Doe v.

Boston College, 892 F.3d at 87. When applied in the context of school disciplinary proceedings,

this covenant “creates an independent duty to provide basic fairness.” Id. (citing Uno Rests., Inc.

v. Bos. Kenmore Realty Corp., 441 Mass. 376 (2004)). Basic fairness includes an obligation by

both parties not to do “anything to destroy or injure the other party’s right to receive the benefits



                                                 15
         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 16 of 22



to which they are entitled under the contract.” Doe v. Amherst College, 238 F. Supp. 3d 218, 220

(D. Mass. 2017) (citing Anthony’s Pier Four, Inc. v. HBC Assocs., 411 Mass. 451, 583 (1991)).

       Harvard’s Policy is crystal clear that FAS does not have the authority to put Mr. Doe

through this process. Allowing FAS to do that in spite of the Policy is not only a violation of the

express terms of the contract, it is also a violation of the covenant of good faith and fair dealing.

                       b.      Subjecting Mr. Doe to Harvard’s Disciplinary Processes
                               Breaches the Covenant of Good Faith and Fair Dealing
                               Because Doing So Violates Principles of Basic Fairness.

       Proceeding with the campus disciplinary process when it plainly is not within Harvard’s

jurisdiction to do so would also violate Harvard’s duties of basic fairness to Mr. Doe, and thus

the implied covenant of good faith and fair dealing. Even if the disciplinary process vindicates

Mr. Doe—which it should—Harvard still will have railroaded him through a process that the

school had no jurisdiction to initiate in the first place. That is patently unfair. Although the

concept of basic fairness “is not well-defined, and no doubt varies with the magnitude of the

interests at stake, it is nonetheless clear that the university must provide its students with some

minimum level of fair play.” Doe v. Brandeis, 177 F. Supp. 3d at 573. And, as every first-year

law student learns, “fair play and substantial justice” are a standard part of a jurisdictional

analysis. Int’l Shoe Co. v. State of Wash., Office of Unemployment Compensation and

Placement, 326 U.S. 310, 316 (1945). Jurisdiction must comport with due process—and, even

though Harvard is a private school, Massachusetts law has made clear that private schools have

contractual obligations of due process towards their students. See Doe v. Boston Coll., 892 F.3d

at 82-83 (noting Boston College’s “contractual obligations for due process and fundamental

fairness”); Doe v. Brandeis, 177 F. Supp. 3d at 602-03 (finding student had adequately pled




                                                  16
           Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 17 of 22



breach of contract claim where school’s disciplinary procedures failed to provide protections

such that, in criminal context, accused would have been denied due process).

          Imposing Harvard’s disciplinary processes on Mr. Doe under these circumstances also

would violate basic fairness because it would deprive Mr. Doe of his right to receive benefits to

which he is entitled under his contract with Harvard—namely, a Harvard education, and all the

opportunities it affords. Even if Mr. Doe is completely vindicated by this process, it will have

substantially interfered with his academics and his searches for post-graduation employment.

Mr. Doe, like most Harvard students, manages a heavy academic workload—and being subjected

to a process such as this is extremely stressful and time-consuming. No matter the ultimate

outcome of the proceeding, Mr. Doe would certainly suffer by continuing to be subjected to it.

          B.     Mr. Doe Will Suffer Irreparable Harm Without Injunctive Relief.

          Mr. Doe undoubtedly will suffer irreparable harm if the Court does not grant injunctive

relief—even if the Harvard disciplinary proceeding were to completely vindicate him on the

merits.

          First, as discussed above, Mr. Doe (in the midst of final exam preparations) will be

subject to a process that is inherently stressful, and that will make it significantly more difficult

to manage his academic workload. And if he has to disclose the proceeding to potential

employers, it will affect his ability to find a job as well. Doe v. Brandeis, 177 F. Supp. 3d at 602

(“It is true that the consequences of a university sanction are not as severe as the consequences of

a criminal conviction. Nevertheless, they bear some similarities, particularly in terms of

reputational injury.”).

          There will be no undoing the damage this will cause. Mr. Doe does not come from a

privileged background. His father is a farmer. He is one of six children. He stands to lose a




                                                  17
          Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 18 of 22



great deal from being railroaded through this proceeding, which Harvard has no jurisdiction to

initiate in the first place.

        Moreover, Harvard’s proposed proceeding will deprive Mr. Doe of many of the

procedural protections he otherwise would have in the ongoing civil litigation, in a forum that

Ms. Roe herself chose. At this time, the Court in that proceeding is deciding whether to grant a

motion filed by Mr. Doe seeking to dismiss some of Ms. Roe’s claims. But even if that motion is

granted, discovery will begin—and with that, Mr. Doe will have subpoena power and expansive

access to discovery—including testimony from Ms. Roe and other witnesses. He has not yet had

to submit an answer or provide a deposition. But when he does, he will do so with an

opportunity to review and respond to Ms. Roe’s claims in detail, including any evidence that she

believes supports her claims. He also will have the opportunity to cross-examine her and any

witnesses she may provide. 4 He will not have any of those things in Harvard’s campus

disciplinary proceedings.




4
  In fact, under earlier guidance from the U.S. Department of Education (“Department”), schools
were instructed to deny students who are accused of sexual assault the right of cross-
examination, or risk losing federal funding under Title IX. See U.S. Dep’t of Education, Dear
Colleague Letter on Sexual Violence (April 4, 2011),
https://www2.ed.gov/about/offices/list/ocr/letters/colleague-201104.pdf. That guidance only
recently has been rescinded, with the Department now publishing proposed new regulations that
will guarantee accused students the right to cross-examine accusers. See U.S. Dep’t of
Education, Letter Rescinding the Dear Colleague Letter on Sexual Violence dated April 4, 2011
and the Questions and Answers on Title IX and Sexual Violence, dated April 29, 2014 (Sept. 22,
2017), https://www2.ed.gov/about/offices/list/ocr/letters/colleague-title-ix-201709.pdf; U.S.
Dep’t of Education, Notice of Proposed Rulemaking, Title IX of the Education Amendments of
1972 (Nov. 15, 2018), https://www2.ed.gov/about/offices/list/ocr/docs/title-ix-nprm.pdf.
Notwithstanding the Department’s rescission of its old guidance, and its proposed new
regulations, Harvard has informed Mr. Doe that it nonetheless still will not afford him the right
of cross-examination in its campus discipline proceeding against him.But even if this rule is
ultimately passed, it will not be in time for Mr. Doe to avail himself of its protections.


                                                18
         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 19 of 22



       Nor will Mr. Doe have a meaningful opportunity to respond to Ms. Roe’s allegations. To

this day, he has been provided only a purported summary of what she has told Harvard—yet

Harvard will ask him to sit for an interview in which he will be expected to answer all of the

questions the investigator asks him. He will not have the ability to subpoena witnesses in his

defense to respond to her allegations—and since there are no witnesses at Harvard, Harvard will

have no ability to compel them to provide evidence.

       C.      The Balance of Harms Weighs in Mr. Doe’s Favor.

       Mr. Doe has detailed the reasons Harvard’s proposed proceedings will harm him. By

contrast, an injunction will not injure Harvard, or anyone at Harvard, in any way. Mr. Doe has

no disciplinary record, nor has he ever been accused of sexual misconduct before Ms. Roe’s

accusations. Compl. ¶ 31; Exhibit 3 at 5. Ms. Roe is not a student at Harvard; there is no

concern that Mr. Doe’s presence on campus will cause her any harm. These allegations involve

an event that took place more than sixteen months ago, and Mr. Doe has given Harvard no

reason to believe that he is a threat to anyone on campus. Harvard has acknowledged as much—

twice—in writing. Compl. ¶¶ 31-32; Exhibits 4 and 5. Weighted against everything Mr. Doe

stands to lose, respectfully, the balance of harms is not close. See Doe v. Univ. of Cincinnati,

223 F. Supp. 3d 704, 712 (S.D. Ohio 2016) (granting preliminary injunction where there was no

evidence university believed plaintiff presented harm to other students, and had even permitted

plaintiff to remain on campus), aff’d, 872 F.3d 393 (6th Cir. 2017); Doe v. Pennsylvania State

U., 276 F. Supp. 3d 300, 315 (M.D. Pa. 2017) (balance of harms favored movant where “absence

of immediate relief during the pendency of the litigation will work irreparable harm to his

professional career and advancement”).




                                                19
         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 20 of 22



       D.      An Injunction Is in the Public Interest.

       An injunction is in the public interest for two reasons. First, Mr. Doe has pointed to a

violation of Harvard’s own policies—which govern the entire student body—by FAS, which is

the largest division of Harvard, and also appears to be the only school at Harvard that has

asserted the authority to investigate students for violations for which the University has denied it

jurisdiction. See supra at 8 n.2. Mr. Doe will likely not be the last student to be affected by this

erroneous and unjust application of Harvard’s Policy. That there are more students within FAS

than any other school or subdivision of the University only underscores this. See

https://www.fas.harvard.edu/pages/what-fas.

       Second, there is no evidence Mr. Doe presents any harm to anyone in the Harvard

community. He has no disciplinary record, nor have any Harvard students filed complaints

against him. Harvard has expressly acknowledged it does not believe he is a threat to impose a

“hostile environment” on anyone in the Harvard community. Exhibits 4 and 5; see Doe v.

Pennsylvania State U., 276 F. Supp. 3d 300, 316 (M.D. Pa. 2017) (due process concerns weighed

in favor of granting motion for preliminary injunction); cf. Doe v. Blake School, 310 F. Supp.

969, 985 (D. Minn. 2018) (public interest factor did not clearly favor either party when four

other students had brought sexual misconduct complaints against the plaintiff).

V.     CONCLUSION

       For all of the foregoing reasons, Mr. Doe respectfully requests that the Court grant (1) a

temporary restraining order enjoining Harvard from proceeding with a campus disciplinary

proceeding with respect to Ms. Roe’s allegations against Mr. Doe; (2) a similar preliminary

injunction upon notice and an opportunity for Harvard to respond; and (3) any other relief that

the Court deems proper.




                                                 20
       Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 21 of 22




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         Case 1:18-cv-12462-IT Document 4-1 Filed 11/28/18 Page 22 of 22



                                CERTIFICATE OF SERVICE

I hereby certify that on this 28th day of November, 2018, I served the foregoing upon the
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